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 3
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 5   Attorney for Defendant
     RICARDO FABIAN SALINAS
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 7
 8                                UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )               Case No. 1: 12-CR-00213 AWI-BAM
                                      )
12          Plaintiff,                )               WAIVER OF APPEARANCE
                                      )               AND ORDER THEREON
13               v.                   )
                                      )                DATE: April 8, 2013
14   RICARDO FABIAN SALINAS,          )                TIME: 1:00 p.m.
                                      )                Courtroom Three
15          Defendant.                 )
     _________________________________)                HONORABLE BARBARA A. McAULIFFE
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              Defendant, RICARDO FABIAN SALINAS, hereby waives his right to be present in
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     person in open court upon the hearing presently set for April 8, 2013 at 1:00 p.m. in
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     Courtroom Three of the above entitled court. Defendant hereby requests the court to proceed in
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     his absence and agrees that his interests will be deemed represented at said hearing by the
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     presence of his attorney, JOHN F. GARLAND. Defendant further agrees to be present in
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     person in court at all future hearing dates to be set by the court including the date set for jury
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     trial.
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25
     Dated:      April 2, 2013                                  /s/ Ricardo Fabian Salinas
26                                                            RICARDO FABIAN SALINAS
                                                             (Original signature in counsel’s file)
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 3                                              ORDER
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 5         Good cause appearing,
 6          IT IS HEREBY ORDERED that defendant RICARDO FABIAN SALINAS is hereby
 7    excused from appearing at the court hearing scheduled for April 8, 2013 at 1:00 p.m.
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 9        IT IS SO ORDERED.
10       Dated:    April 4, 2013                       /s/ Barbara A. McAuliffe
     10c20k                                         UNITED STATES MAGISTRATE JUDGE
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